1. (a) Negligence may be shown by circumstances as well as by direct testimony, and a jury may in some instances presume negligence from the mere happening of an event. In such a case all the circumstances and surroundings accompanying the event should be considered, and if it is such an event as in the ordinary course of things would not have occurred if the defendant had used ordinary care, negligence may be presumed, and place upon the defendant the burden of explaining the cause of the occurrence. See Central of Georgia Ry. Co. v.  Blackman, 7 Ga. App. 766 (68 S.E. 339). *Page 207 
(b) There is some evidence to support the verdict. It has the approval of the trial judge. It will therefore not be disturbed by this court as to the general grounds of the amended motion for a new trial. See Code (Ann.), § 70-202, and cases annotated under catchwords "Any evidence" and "Approval."
2. In an action against a railroad company for personal injuries sustained by a passenger occasioned by a derailment of the train — wherein the petition, undemurred to, alleges that the defendant was negligent in that said train, without the interference of a third party or outside agency, was caused to leave the tracks on which it was running and become wrecked beside the tracks, and where the evidence shows that the train was being operated by a servant of the defendant, its engineer, and was proceeding in an ordinary manner when it suddenly and without the interference of a third party or outside agency, left the tracks on which it was running and became wrecked beside the tracks — it is not error for the court to charge the jury that if they find that the train in question, without the interference of any third party or outside agency was caused by the defendant to leave the tracks on which it was running at the time and place in question and become wrecked beside the tracks and that if they found this was negligence and the proximate cause of the plaintiff's injuries, if any, then it would be their duty to return a verdict for the plaintiff unless they should find that he is barred from a recovery by some other rule of law which the court has given or will give in charge.
3. In determining whether or not an excerpt from the charge of the court is erroneous, the same must be construed with the charge in its entirety as conveying to the jury that meaning which the jury must necessarily have understood it to convey. If the excerpt is reasonably susceptible of two constructions, the sense in which it must have been understood by the jury may be determined from other provisions of the charge. See  Garvin v. State, 76 Ga. App. 684 (47 S.E.2d 192);  Georgia Ry.  Power Co. v. Shaw, 40 Ga. App. 341
(149 S.E. 657).
4. A party will not be heard to complain of instructions given at his request. See Laing v. Bodiford, 25 Ga. App. 460
(103 S.E. 743); Welch v. State, 49 Ga. App. 380
(175 S.E. 598); Coleman v. State, 141 Ga. 737 (4) (82 S.E. 227).
5. It is proper for the trial judge to charge principles of law applicable to the case that are supported by the pleadings and the evidence.
6. The excerpt from the charge complained of in special ground VIII of the amended motion for a new trial is not error for the reasons set forth in the 6th division of this opinion.
7. That part of special ground VII complaining of an excerpt from the charge of the court relating to the Federal Safety Appliance Act, and the excerpt from the charge of the court relating to said act contained in special ground IX of the amended motion for a new trial show no cause for the grant of a new trial for the reasons set forth in the 7th division of this opinion.
8. The qualifications of expert witnesses are addressed to the sound discretion of the court. Their opinions, on questions of science, skill, or like questions shall always be admissible provided they are based on *Page 208 
facts supported by other witnesses and the weight thereof is a question for the jury. See Hines v. Hendricks, 25 Ga. App. 682
(104 S.E. 520); Southern Railway v. Wessinger, 32 Ga. App. 551 (124 S.E. 100), and the Code, § 38-1710;  McClendon v. State, 7 Ga. App. 784 (68 S.E. 331).
9. Grounds of a motion for a new trial complaining of the refusal of the court to allow witness to answer a certain question of counsel must disclose the expected answer and that the judge was informed of it. See Garrett v. State, 20 Ga. App. 750
(93 S.E. 232); Pelham Phosphate Co. v. Daniels, 21 Ga. App. 553 (94 S.E. 846); Smith v. State, 119 Ga. 113
(46 S.E. 79).
10. It is not error for the trial court to refuse a request to charge when the subject-matter thereof is fully covered by the general charge.
11. Where the amount of a verdict is amply supported by the evidence and has the approval of the trial judge on a motion for a new trial, the same will not be held to be excessive by this court.
           DECIDED MAY 6, 1948. REHEARING DENIED MAY 31, 1948.
The defendant in error, Thomas Gordon Fowler, hereinafter referred to as the plaintiff, sued the Western  Atlantic Railroad for $25,000 for damages growing out of personal injuries alleged to have been sustained by him on account of a train derailment occurring on said railroad north of Marietta on the morning of September 25, 1944.
The petition alleged facts substantially as follows: that on September 25, 1944, and for sometime prior thereto, he was an employee of the defendant; that he was employed as a welder's helper and was earning approximately $225 per month; that he boarded a southbound train of the defendant at Resaca, his home, at about 5:10 a. m.; that as an employee of the defendant he was riding on a pass; that as the train reached a point near an overhead bridge north of Marietta, it suddenly and without warning became derailed and wrecked, and the plaintiff, who was riding in the baggage car, was seriously, painfully, and permanently injured in the derailment and wreck.
The defendant was negligent in the following particulars and said negligence contributed to and proximately caused the plaintiff's injuries: (7) the defendant was negligent in that said train, without the interference of a third party or outside agency, was caused to leave the tracks on which it was running and become wrecked beside the tracks at said location; (8) the defendant was negligent in that the right intermediate driving wheel was so *Page 209 
worn that it was loosened on its axle before the accident and was loose at the time the accident occurred; (9) the defendant was negligent in that the driving wheels and driving machinery of said locomotive were generally worn, defective and out of repair, the driving wheels being so worn that the driving rods in operation tended to cause the wheels to wobble and render them likely to spread the rails of the track or jump the rails of the track and cause a derailment; (10) said failure to have said locomotive in repair was a violation of the Federal Safety Appliance Act and constituted negligence as a matter of law; (11) the defendant was negligent in that said train was being operated at an excessive rate of speed around a curve, it being operated at the time at a speed of about 55 or 60 miles per hour; (12) said train at the time was being operated in interstate commerce, that is to say, on its regular run it had come from outside the State of Georgia into the State of Georgia in the carrying of passengers.
The petition then alleged the detailed injuries sustained by the plaintiff as a result of the derailment and wreck substantially as follows: a cut on the right arm; a fractured rib; chin, nose, lips, neck and chest badly cut and lacerated; frontal bones of upper and lower jaws fractured; several teeth broken; fracture of the transverse process of two of the lumbar vertebrae; back sprained; and shock to the entire nervous system.
The petition further alleged: that as the direct and proximate result of these injuries, the plaintiff has suffered and will continue to suffer permanently great pain and will be disabled permanently; that he is unable to do any work requiring considerable physical effort; that his left arm, left leg and thigh are partially paralyzed; that he has suffered the partial loss of the sense of feeling in his left hand and arm up to the elbow; that he has been unable to do any work since he suffered these injuries; that he will not be able during the remainder of his life to resume his former occupation, and that at the time he suffered his injuries he was 38 years of age with an expectancy in life of 28.96 years or more.
The answer of the defendant denies that the plaintiff was engaged as an employee at the time of the wreck; it admits that the plaintiff had gotten aboard its passenger train at Resaca *Page 210 
and was traveling southward in the baggage car; it says that the plaintiff had no right under the alleged pass, or under a ticket to be in the baggage car, and should not have been in the same at the time and place but should have been in a safe, comfortable passenger-coach seat farther removed from the locomotive than the baggage car.
The answer then denies paragraphs 7, 8, 9, 10, 11, and 12 of the petition, and says that the defendant exercised all reasonable care in the premises.
The answer of the defendant denies that the plaintiff was injured as alleged and says upon information and belief that the plaintiff, on the date of the wreck, was suffering from a disease and from ailments and injuries which he had suffered and sustained during the years prior to 1944, and that, as a result of the same, his life expectancy had been reduced and shortened considerably, and that the injuries he now complains of are direct and proximate results of the disease and injuries aforesaid.
The defendant further answering says: (a) that the defendant, Western  Atlantic Railroad, was guilty of no negligence; (b) that the defendant was guilty of no negligence which caused or directly or proximately contributed to the cause of the plaintiff's injuries, if any; (c) that the plaintiff's injuries, if any he sustained, did not result in whole, or in part, from the negligence of any of the officers, agents, or employees of the defendant, Western  Atlantic Railroad; (d) that, if the plaintiff was injured at the time and place set forth in his petition, such injury was due to and was the result of his own negligence solely; (e) that the plaintiff, Thomas Gordon Fowler, was guilty of negligence contributing to his injuries, if any he sustained.
The record in this case is too voluminous to permit a resume of the testimony of each witness here. In many instances it is in sharp conflict, and is accordingly proper subject-matter for the determination of the jury. Construing the evidence in its most favorable light to uphold the verdict, as required of us, and after a careful study of the entire brief of evidence, we conclude that the jury trying the case was authorized to find facts substantially as follows: The plaintiff was on September 25, 1944, and for sometime prior thereto, an employee of the defendant. He had previously been employed by the defendant as a *Page 211 
welder, working 10 hours per day, five days per week, at the hourly base pay of $1.02 1/2 per hour. Sometime prior to the date in question he had been "rolled" under the seniority rules of the defendant and reduced in service to a welder's helper, working the same hours per day and days per week for the base pay of $.67 1/2 per hour. During the time he had been employed by the defendant he was able to perform his duties which consisted among other things of lifting and moving acetylene and oxygen drums weighing 150 pounds or more each. On the day in question he was 38 years of age with an expectancy of 28.96 years. On September 25, 1944, he boarded a southbound passenger train at Resaca, his home, at about 5:10 a. m.; he was riding on a pass. L. E. Holcombe was the conductor of this train on that day, and he was being assisted in his duties as conductor by M. H. Greeson, the baggagemaster. On boarding the train he first went to the baggage car; after remaining there for a few minutes he then went back to one of the coaches in which revenue passengers were riding. There were no seats available in this coach. He saw the conductor there, who recognized him as an employee riding on a pass, and was told by the conductor that the revenue passengers had the seats, and for him to return to the baggage car and ride there. This was contrary to instructions given to the conductor by a superior officer, who had told the conductor to keep employees who were not connected with the operation of the train and who were riding on passes out of the baggage car. Nothing in the record indicates that the plaintiff had any knowledge of these instructions given to the conductor by his superior officer, and nothing in the record indicates that the baggagemaster who was assisting the conductor on this run had any knowledge of such instructions, or that he had been instructed by the conductor to keep such employees out of the baggage car. The jury was authorized to find additional facts as follows: that the plaintiff returned to the baggage car and seated himself on an army footlocker or trunk of some description, where he was seen and recognized by the baggagemaster; that there was no more apparent danger to one in the baggage car at the time the plaintiff entered and was riding in it than there was in riding in one of the coaches provided for the revenue passengers; that as the train approached the point *Page 212 
of an overhead bridge immediately north of Marietta, it suddenly and without warning became derailed and was wrecked; that the locomotive turned over on its right side; that the baggage car in which the plaintiff was riding was derailed, and the plaintiff was injured as follows: fractured jaw, serious injuries to his head and back, three fractured ribs and fracture of the transverse process of one of the vertebrae. From these injuries he developed a partial paralysis in his left arm, leg and thigh; that he had very little feeling in these members; that he was totally unable to use his left hand and left leg for a period of time; that at the time of the trial, more than 3 years later, he was unable to work on account of the condition of these members, and that when he tried to work his right hand and side soon tired and gave way because of the added strain on that side; and that following his injury he spent several months in different hospitals.
The jury was also authorized to find that the plaintiff, before his injury, had a hernia and a spinal injury which had previously impaired his ability to work; that since the wreck the hernia has become larger and more injurious to him.
On the issue of the cause of the wreck, the evidence relating thereto is purely circumstantial. However, from all the facts and circumstances, the jury was authorized to find substantially as follows: that the right intermediate driving wheel was worn and loosened on the axle; that this worn and loose condition existed prior to the wreck; that as the result thereof this wheel slipped outward on its axle a distance of approximately 2 inches; that this condition would tend to spread the rails and cause the derailment; that the left intermediate side rod of the engine was broken approximately 2 feet from the main pin stud, part of the crank pin; that if this was broken before the derailment it would tend to cause the broken part to extend downward, striking a tie, rear the engine up and cause it to turn over on the opposite side; that immediately before the locomotive turned over, it reared up in this manner at about a 30-degree angle; that the locomotive had been given a general repair job approximately 2 months prior to the wreck but its moving parts were somewhat worn; that on the morning of the derailment while the locomotive was in Chattanooga, it was inspected, but the *Page 213 
foreman of the man who actually made the inspection testified with reference thereto, not the man himself, and the record is silent as to what condition the man who actually made the inspection found the right intermediate driving wheel of the locomotive later found to be displaced, to have been in at the time of the inspection or whether or not this particular part was actually inspected; the locomotive had been inspected about 30 days prior to the wreck, and it was found to be in good condition at that time, although its working parts were somewhat worn; that at the time of the derailment the train was traveling at approximately 50 miles an hour; that on account of the curve of the track, this was an unsafe speed at which to operate the same; that the train was being operated in interstate commerce and was subject to the Federal Safety Appliance Act; and that the certain worn parts of the locomotive were in such unsafe condition as to make the operation thereof perilous to life and limb.
The jury was authorized to find from the evidence that due to the condition of the locomotive and the manner in which it was being operated, without the interference of any third or outside person, it was caused by the defendant to leave the tracks on which it was running at the time and place in question and become wrecked beside the tracks, and that this was negligence and the proximate cause of the plaintiff's injuries. The witnesses for the defendant who touched upon the subject, swore that they did not know the cause of the derailment.
The jury returned a verdict in favor of the plaintiff for $10,000. The defendant filed a motion for a new trial on the general grounds which was later amended by adding 16 special grounds. Upon the hearing of this motion for a new trial as amended, the trial judge entered a judgment overruling the same, and this judgment is assigned as error.
1. The witnesses for the defendant who were asked about the cause of the derailment testified that they did not know the cause. Counsel for the defendant insists that the cause is unknown. *Page 214 
The derailment of a locomotive and train is such an event as in the ordinary course of things would not have occurred if the defendant had used ordinary care. The petition alleged that the defendant was negligent in that said train, without the interference of a third party or outside agency, was caused to leave the tracks on which it was running and become wrecked beside the tracks. We are not called upon to decide whether this allegation would have withstood a special demurrer. None was interposed to it. The evidence clearly showed that the train was proceeding southward until it reached a point approaching the overhead bridge immediately north of Marietta; that it was being operated by a servant, the engineer, of the defendant, and that it suddenly and without the interference of a third party or outside agency left the tracks on which it was running and became wrecked beside the tracks. In the absence of demurrer parties are entitled to prove their pleadings as laid. See Clark v.Bandy, 196 Ga. 546 (27 S.E.2d 17). Negligence may be shown by circumstances as well as by direct testimony, and a jury may in some instances presume negligence from the mere happening of an event. In such a case all the circumstances and surroundings accompanying the event should be considered; and if it is such an event as in the ordinary course of things would not have occurred if the defendant had used ordinary care, negligence may be presumed, and place upon the defendant the burden of explaining the cause of the occurrence. See Central of Georgia Ry. Co. v.Blackman, 7 Ga. App. 766 (supra). The evidence authorizes and supports the verdict of the jury on the general grounds as related to the allegations of paragraph 7 of the petition.
All the remaining allegations of negligence contained in the petition are supported by some evidence except the allegation contained in paragraph 9 thereof, which will be discussed later in this decision. The verdict is therefore supported by some evidence. It has the approval of the trial judge. It will therefore not be disturbed by this court as to the general grounds of the motion for a new trial. See Code (Ann.), § 70-202, and cases under catchwords "Any evidence" and "Approval."
2. Special ground IV of the amended motion for a new trial complains because the court charged the jury as follows: "I *Page 215 
charge you that if you should find that the train in question in this case, without the interference of any third or outside party, was caused by the defendant to leave the tracks on which it was running at the time and place in question and become wrecked beside the tracks, and that this was negligence and the proximate cause of the plaintiff's injuries, if any, then it would be your duty to return a verdict for the plaintiff unless you should find he is barred from a recovery by some other rule of law which the court has given you or will give you in charge."
This charge is in the substantial language of a paragraph of the petition relied upon by the plaintiff for recovery in this case. The same is undemurred to. We have discussed the right of the plaintiff to prove the allegations of his petition as laid in the first division of this decision, reference to which is now made for the authority in support thereof. It necessarily follows that if the plaintiff has the right to plead a ground for a recovery, which he has in the absence of demurrer, and has the right to prove it, which he has if pleaded, it is not error for the court to charge the jury accordingly. In support of these contentions of the defendant, counsel rely upon these cases:Lawrence v. Ga. Ry.  Elec. Co., 9 Ga. App. 309
(71 S.E. 593); Palmer Brick Co. v. Chenall, 119 Ga. 837 (5, 6) (47 S.E.2d, 329); Central of Georgia Ry. Co. v. Leonard,49 Ga. App. 689 (3a) (176 S.E. 137); Blackwell v. Sawtell,49 Ga. App. 561 (176 S.E. 668); Martin v. Home Owners LoanCorp., 72 Ga. App. 115 (33 S.E.2d 175). The Lawrence case and the Central of Georgia Ry. case hold that where a general allegation refers to special allegations the latter will be treated as amplification of the former. The Palmer Brick Co.
case holds that a petition for damages containing only general allegations of negligence is subject to general demurrer. TheBlackwell case holds that a recovery can not be based on a petition stating mere conclusions unsupported by facts. TheMartin case holds that a petition, construed most strongly against the plaintiff, does not plainly and distinctly set forth a cause of action, but is ambiguous and couched in vague expressions, and when deleted of the conclusions of the pleader therein contained, sets forth no cause of action and is subject to demurrer.
In the instant case the petition is undemurred to and the allegation *Page 216 
relied upon forms a ground for recovery independent of the remaining allegations of negligence. See Central of Ga. Ry. v.Blackman, supra.
3. Special ground V complains because the court charged the jury as follows: "The law also directs that it is your duty, where it can be done, to reconcile conflicting evidence, if there be such evidence in the case, so that all the witnesses shall be made to speak the truth and perjury will be imputed to none of them. But if there should be any evidence in this case in such irreconcilable conflict that that can not be done, then it is your right and province to believe that which to you may seem most reasonable and most credible, and settle the issues by the greater weight or preponderance of the evidence."
This excerpt from the charge is contended to be error because that part of it, "and settle the issues by the greater weight or preponderance of the evidence," is contended to place upon the defendant a greater burden than required by law to avoid liability; that the law places upon the plaintiff the obligation of establishing his right to recover by a preponderance of the evidence instead of requiring the defendant to do so, and that the charge in effect would require the defendant to carry this burden.
Elsewhere in his charge the court fully defined the preponderance of evidence and charged on the burden of proof. Applying these parts of the charge to that above set forth and contended to be error, the jury could only conclude that if there should be an irreconcilable conflict in the testimony, they would believe that which seemed most reasonable and credible, and thereupon determine whether or not the plaintiff had proved his case by a preponderance of the evidence. The court is not required to charge different principles of law in the same sentence or paragraph. See Pollard v. Harris, 51 Ga. App. 899
(181 S.E. 593); Davis v. Whitcomb, 30 Ga. App. 503
(15b) (118 S.E. 418).
4. Special grounds VI, X, and XIV of the amended motion for a new trial are considered together.
Special ground VI complains because the court charged the jury as follows: "I charge you that if you should find that the driving wheels and driving machinery of said locomotive were generally worn, defective and out of repair, and that the driving wheels were so worn that the driving rods in operation tended *Page 217 
to cause the wheels to wobble and rendered them likely to spread the rails of the track or jump the rails of the track and cause a derailment and that this was negligence and the proximate cause of the derailment and plaintiff's injuries, if any, you should return a verdict for the plaintiff."
Special ground X complains because the court charged the jury as follows: "I charge you further, however, gentlemen, that a person after becoming a passenger upon a railway passenger train, if he does become a passenger, does not cease to be such and become a trespasser or licensee by failing to go into a passenger coach and going into a baggage car if the conductor or other person in charge of the train is consenting thereto and there is nothing to show that the conductor is exceeding his authority. If he went into the baggage car under such circumstances the carrier would still owe him the duty of extraordinary diligence for his safety. However, I charge you that whether the act of the passenger in going into the baggage car amounts to such negligence as would bar a recovery for injuries received by him therein is a question to be determined by the jury. While the fact that a passenger went into the baggage car with the knowledge and consent of the conductor would not justify the passenger in ignoring an obvious danger the fact that he went there under such consent might be considered with the other facts and circumstances in determining whether or not the passenger was negligent, and also the degree of negligence, if you should find that the danger incident to his presence in the baggage car was not obviously so great that a person of ordinary prudence would not voluntarily have exposed himself thereof [thereto ?]. If you should find that there was danger incident to his presence in the baggage car, and that by doing so the plaintiff was guilty of a lack of ordinary care for his own safety, then he could not recover."
Special ground XIV complains because the court charged the jury as follows: "The plaintiff alleges that the defendant was negligent in that said train was being operated at an excessive rate of speed around a curve at the time and place in question and alleges that it was being operated at the time at a speed of about 55 or 60 miles per hour. I charge you that if you find that the train, at the time and place in question, was being *Page 218 
operated at an excessive rate of speed around a curve and that this constituted negligence and was the proximate cause of the derailment and the plaintiff's injuries, if any, the plaintiff would be entitled to a verdict in his favor unless barred from recovery under some other rule of law which the court will hereafter give you in charge."
These excerpts from the charge are contended to be error on the ground that they are not supported by the evidence. Two of the excerpts are founded on paragraphs 9 and 11 of the petition. Paragraph 11 of the petition is amply supported by the evidence and the charge is authorized. The excerpt complained of herein which is assigned as error in ground X of the amended motion for a new trial is a correct statement of the law and authorized both by the pleadings and the evidence. Paragraph 9 of the petition is not supported by the evidence. Although not given in the exact language thereof, these excerpts substantially constitute written requests to charge, on the part of counsel for the defendant, duly submitted to the trial judge before the case went to the jury. Construing the charge as a whole these requests were substantially given. A party will not be heard to complain of instructions given at his request. See Laing v. Bodiford,25 Ga. App. 460 (supra); Welch v. State, 49 Ga. App. 389
(supra); Coleman v. State, 141 Ga. 737 (4) (supra).
5. Special ground VII complains because the court charged the jury as follows: "Now this suit, gentlemen, is based by the plaintiff upon the alleged negligence of the defendant. That is to say, the plaintiff claims he was injured, and injured by the negligence of the defendant. And in his petition he specifies the particulars in which he charges that the defendant was negligent in that he claims that the defendant was negligent in that said train, without the interference of a third party or outside agency, was caused to leave the tracks on which it was running and become wrecked beside the tracks at said location. That the defendant was negligent in that the right intermediate driving wheel was so worn that it was loosened on its axle before the accident and was loose at the time the accident occurred. That the defendant was negligent in that the driving wheels and driving machinery of said locomotive were generally worn, defective and out of repair, the driving wheels being so worn *Page 219 
that the driving rods in operation tended to cause the wheels to wobble and render them likely to spread the rails of the track or jump the rails of the track and cause a derailment. That said failure to have said locomotive in repair was a violation of the Federal Safety Appliance Act and constituted negligence as a matter of law. That the defendant was negligent in that said train was being operated at an excessive rate of speed around a curve, it being operated at the time, as the plaintiff alleged, at a speed of about 55 or 60 miles per hour. And when you come to pass upon the question of whether or not the defendant was negligent you will be confined to those specifications in which the plaintiff charges negligence. You would not be authorized to go outside and inquire whether the defendant was or was not negligent in some other or in any other manner than in the particulars thus alleged. The law being that if the plaintiff recovers he must recover upon his case as it is presented to the court and jury in his petition."
Parts of the excerpt from the court's charge contended to be error in this ground of the amended motion for a new trial are also assigned as error in special grounds IV, VI, IX, and XIV, and reference is made to our discussion of those grounds of the amended motion for a new trial in divisions 2, 4, and 7 of this decision for further amplification thereof.
The excerpt here is contended to be error because it is insisted (1) the jury would be authorized thereunder to find the defendant guilty of negligence not specified in the petition even though not guilty of the negligence alleged in the petition, and (2) because it would authorize the jury to find against the defendant based upon the allegations contended in paragraphs 8 and 9 of the plaintiff's petition, it being contended that paragraphs 8 and 9 of the petition are unsupported by evidence.
That part of this excerpt from the charge which refers to paragraph 9 of the petition is also assigned as error in special ground VI of the amended motion for a new trial and is discussed in division 4 of this decision. That part which refers to paragraph 8 of the petition wherein it is alleged that the defendant was negligent in that the right intermediate driving wheel was so worn that it was loosened on its axle before the accident and was loose at the time the accident occurred is supported by some *Page 220 
evidence. Also, since the excerpt complained of expressly contains the provision that the jury would not be authorized to go outside and inquire whether the defendant was or was not negligent in some other or in any other manner than in the particulars alleged, but are confined to those specifications in which the plaintiff charges negligence, that part of the excerpt here complained of which is considered in this division of the opinion is not error for either of the reasons assigned.
6. Special ground VIII complains because the court charged the jury as follows: "I charge you, gentlemen, that if the plaintiff, Fowler, is otherwise entitled to recover in this case, the fact that he carried with him a pass issued by the defendant company with a form of release printed on the back of it purporting to relieve the company from liability from personal injuries to Fowler, would not bar him from recovery. If an employee of a railroad company is riding on a pass on a train of his employer going to his work, a limitation printed thereon purporting to relieve the railroad from liability on account of any negligence of the railroad is void, and such limitation does not bar the employee from recovering from the railroad, if there be such negligence."
This excerpt from the charge is contended to be error because it is insisted by counsel for the defendant that the charge would authorize the jury to find in favor of the plaintiff if he were injured as the result of any negligence proximately causing his injuries by the railroad; that the charge would authorize the jury to go outside the negligence alleged in the petition of the plaintiff and base their verdict on negligence other than that charged in the petition. It is not contended by counsel for the defendant that the charge is an incorrect statement of the law relating to the status of the plaintiff on the train as a passenger, and the liability of the defendant to him as such, irrespective of the printed matter on the back of his pass to the contrary. As held in this case when previously before this court, the foregoing charge is a correct statement of the law regarding the particular subject-matter herein outlined. See Fowler v.Western  Atlantic R., 75 Ga. App. 156 (42 S.E.2d 499).
In the excerpt herein complained of as error the court qualified his charge relating to the pass and the printed matter thereon *Page 221 
by including in the excerpt the provision, "that if the plaintiff Fowler is otherwise entitled to recover in this case." Moreover, the court elsewhere charged the jury that they would not be authorized to go outside and inquire whether the defendant was or was not negligent in some other or any other manner than in the particulars alleged, but are confined to those specifications in which the plaintiff charges negligence. We think the jury could not have been misled by these instructions. See Ga. Ry.  PowerCo. v. Shaw, Garvin v. State, Pollard v. Harris, Davis v.Whitcomb, supra. This assignment of error is without merit.
7. Special ground IX and that part of special ground VII relating to the Federal Safety Appliance Act are considered together.
Special ground IX complains because the court charged the jury as follows: "I charge you that there is a Federal statute providing that it shall be unlawful for any carrier, and that includes a railroad of the type of the defendant in this case, engaged in interstate commerce, to use or permit to be used on its line any locomotive, unless the locomotive, its boiler, tender, and all parts and appurtenances thereof are in proper condition and safe to operate in the service to which the same are put, that the same may be employed in the active service of such carrier without unnecessary peril to life or limb. It is admitted that the defendant in this case was engaged in interstate commerce. The provisions of this act, therefore, would be applicable in this case. And if you find that any of the parts or appurtenances of the locomotive were out of repair or out of condition as charged in the petition and that such was the proximate cause of the plaintiff's injuries, if any, the plaintiff would be entitled to a verdict in his favor, unless barred under some other rule of law which the court will hereafter give you in charge."
This excerpt from the charge is contended to be error because movant insists that the charge authorized the jury to find that parts or appurtenances of the locomotive were out of condition as charged in the petition, they contending that there is no material competent evidence in support of any allegations to this effect; that if there is any evidence on which the jury could have found that parts or appurtenances of the locomotive were *Page 222 
out of condition (which is denied), it is insisted that there is no evidence that such conditions of the parts or appurtenances of the locomotive proximately caused the plaintiff's injuries, if any. This ground of the amended motion for a new trial specifically refers to paragraph 8 of the petition in which it is alleged that the right intermediate driving wheel was so worn that it was loosened on its axle before the accident and was loose at the time the accident occurred. There is evidence to support the allegations of paragraph 8, and the jury was authorized to find that this condition contributed to or caused the derailment. The charge was not error for the reason assigned.
A part of special ground 7 consists of an exception to an excerpt from the charge of the court relating to the Federal Safety Appliance Act as follows: "Now this suit, gentlemen, is based upon the alleged negligence of the defendant . . and in his petition he specifies the particulars in which he charges that the defendant was negligent in that he claims the defendant was negligent . . that said failure to have said locomotive in repair was a violation of the Federal Safety Appliance Act and constituted negligence as a matter of law . . and when you come to pass upon the question of whether or not the defendant was negligent you will be confined to those specifications in which the plaintiff charges negligence. You would not be authorized to go outside and inquire whether the defendant was or was not negligent in some other or any other manner than in the particulars thus alleged. The law being that if the plaintiff recovers he must recover upon his case as it is presented to the court and jury and his petition. Now I charge you that the plaintiff is not required to prove all of his allegations of negligence. Proof of any one or more of them would be sufficient." That part of this excerpt relating to the Federal Safety Appliance Act and complained of in special ground VII of the amended motion for a new trial, is contended to be error because the court failed to quote said statute to the jury, or fully and accurately state its provisions. The statute is not set forth in the ground of the amended motion for a new trial, nor is the manner it is contended the court should have charged it set forth therein. This part therefore of special ground VII of the amended motion for a new trial, although complaining that the *Page 223 
court omitted to charge a required principle of law fully and accurately, fails to set out what should have been charged and is therefore not complete within itself as required. See Powell v.State, 25 Ga. App. 329 (3) (103 S.E. 174); Avery v.Graham, 26 Ga. App. 161 (2) (105 S.E. 708). In the instant case reference to no part of the record will reveal what movant insists the court should have charged.
8. Special grounds XI and XII are considered together.
Special ground XI contends that the court erred in overruling the defendant's objections to the introduction of the deposition of S.E. Field. The objections in substance are that the deposition shows on its face that the witness was, prior to 1939, a locomotive engineer on the Southern Railroad between Atlanta and Macon, with no familiarity with the Western  Atlantic Railroad and with the Western  Atlantic equipment; that he experienced only one derailment and did not know what caused it; that the deposition shows he is unfamiliar with the lateral and bushing allowance by the I.C.C.; that all the questions asked him were about something he obviously could not know; all the questions asked him were in reference to what act or acts could, in his opinion, produce a derailment, which were matters not in evidence in this case; that his answers are conclusions based on conditions unsupported by the evidence.
The deposition of S.E. Field discloses: that he is a retired railroad engineer, and that he had had 32 years experience as an engineer and fireman on the Southern Railroad between Macon and Atlanta; that 8 years of this experience was as fireman and the remainder as an engineer; that he had operated locomotives of the same type as the one involved in the wreck in the instant case; that during his service he had occasion to handle locomotives under practically all operating conditions, including emergency conditions; that he is familiar with the running gear and running parts of a locomotive; that in his opinion if the intermediate side rod of the engine was broken approximately 2 feet from the main pin, stud part of the crank pin, that could in the running of the locomotive tend to cause a derailment; it would be such as would make the engine more likely to derail; that could occur either on a straight or a curve; that if an intermediate driving wheel on the locomotive slipped *Page 224 
outwardly 2 inches, this would tend to cause a derailment; that if there were indications in operation in the key slot of a slight turning movement of the wheel, that would tend to cause a derailment; that if the driver box lateral was below the limit from the front engine track wheel, that would tend to cause a derailment; that upon examination of the picture of a railroad track which indicates a sharp curve, a train traveling toward the person looking at the picture more than 40 miles an hour, would be traveling at an unsafe speed; that 50 miles an hour is an unsafe speed and 55 miles an hour is an unsafe and dangerous speed.
Special ground XII contends that the court erred in overruling the defendant's objection separately made to certain portions of the deposition of S.E. Field. The evidence objected to was the conclusions the witness reached that certain acts or conditions substantially as alleged in paragraphs 8, 9, and 11, if present would tend to cause a derailment. The grounds of the objections were as follows: (1) That said witness showed by his own evidence that he was not skilled on the subject of derailments and their causes, and was not qualified to state the points conclusively expressed in said evidence; and (2) that there was no evidence upon which to base the opinions and conclusions so expressed by the witness.
No particular questions and answers as contained in the deposition of the witness S.E. Field are set out in either of these grounds of the amended motion for a new trial as having been specifically objected to. In Macon, Dublin  Savannah R.Co. v. Anchors, 140 Ga. 531, 536 (2) (79 S.E. 153), the following is held: "Where testimony is objected to in bulk and upon examination it appears that part of it was admissible the order of the court overruling the objection will not be reversed if any part of the evidence was not open to the objection made." The objections therefore go to the whole deposition of this witness on the grounds as set out in these two special grounds of the amended motion for a new trial.
The right of litigants to rely upon the testimony of locomotive engineers as expert witnesses in this State has been upheld. See Southern Ry. Co. v. Blanton, 59 Ga. App. 252
(3) (200 S.E. 471). In Southern Ry. Co. v. Wessinger,32 Ga. App. 551 (1) *Page 225 
(supra), the following is held: "The opinions of experts, on any question of science, skill, trade, or like questions, are always admissible; and such opinions may be given on the facts as proved by other witnesses. The testimony of an expert, as to his opinion as such, is admissible upon any matter, if the opinion given relates to scientific or technical knowledge. The court did not err in allowing a witness of nine years experience as an engineer to give his opinion as to what would cause described violent and unusual jerking of the `reverse lever,' as an appliance upon engines in general, although he was not acquainted with the particular kind of gear, affecting the operation of such lever, with which the engine was equipped whereon, by the jerking of such lever, the plaintiff suffered the alleged injury for which he sued."
Code § 38-1710, provides as follows: "The opinions of experts, on any question of science, skill, trade or like questions shall always be admissible; and such opinions may be given on the facts as proved by other witnesses."
The weight of expert testimony is a question for the jury. SeeMcClendon v. State, 7 Ga. App. 784 (supra). The qualifications of an expert are addressed to the sound discretion of the court. See Hines v. Hendricks, 25 Ga. App. 682, 688
(supra).
In the instant case the court did not abuse his discretion in holding the witness S.E. Field qualified to testify as an expert; the opinion to which he testified as to what would tend to cause a derailment, a part of which at least being based on facts supported by the testimony of other witnesses in the case. No special objection was made to any particular opinion of the witness which was based on facts not supported by the testimony of other witnesses.
Special grounds XI and XII are therefore without merit.
9. Special ground XIII contends that the court erred in sustaining the plaintiff's objection to certain evidence offered by the defendant as follows: L. L. Gilstrap, a witness for the defendant. was asked the question by counsel for the defendant, "Did you get any complaint from anybody on the engine that morning, while you were riding on it about its being defective?" Objection was made and sustained and error assigned thereon. This ground of the amended motion for a new trial failed to set *Page 226 
out what answer was expected. The exceptions here seem to be also to the question and answer immediately preceding the question hereinbefore quoted, which is as follows: "Q. Were there any defects that were noticeable to you in the condition of the engine, defects which might produce a derailment?" "A. No, sir, she sounded normal in every way to me." However, this question and answer are not treated as a part of the assignment of error for the reason that the brief of evidence discloses that this part of the testimony of L. L. Gilstrap was submitted to the jury. The latter part of the assignment of error in this ground of the amended motion for a new trial is without merit because the same fails to specify the answer expected to the question, or that the trial judge was given this information and therefore fails to point out what evidence was excluded from the jury. These facts are also not disclosed by the record. See Garrett
v. State, 20 Ga. App. 749 (supra); Pelham Phosphate Co. v.Daniels, 21 Ga. App. 553 (supra); Smith v. State,119 Ga. 113 (1) (supra).
10. Special ground XV complains because the court failed to charge the jury, upon timely request, as follows: "I charge you that if you find that the defendant was guilty of one or more acts of negligence alleged in plaintiff's petition resulting in injury to the plaintiff and you further find that some of the injuries, if any, complained of in his petition are due to causes and conditions with which defendant had no connection and you are unable to determine, without indulging in speculation or guesswork, what injuries complained of in the petition resulted from some other cause, it would be your duty to return a verdict in favor of the defendant as the law does not permit you to make a verdict arrived at by speculation and guesswork."
The defendant in its answer set up the defense that prior to the derailment the plaintiff had suffered from a disease and from injuries which are the cause of his present disabilities. This defense was fully covered in the charge of the court, both in stating the contentions of the parties and in giving to the jury in charge the law applicable thereto. It is unnecessary for us to pass upon the question of whether or not the request unduly emphasizes the contentions of the defendant to the point of becoming argumentative. It is enough to say that the defense *Page 227 
to which this request relates was amply and properly submitted to the jury by the trial court in his charge.
11. Special ground XVI complains that the verdict is so excessive as to justify the inference of a gross mistake under the evidence, indicate undue bias against the defendant, and is such as to shock moral sense, and indicate that the jury was actuated by undue influence or improper motives.
The verdict is for $10,000. The jury was authorized to find the plaintiff to be permanently and totally disabled from earning. At the time of the derailment he was earning approximately $1800 per year. He had an expectancy of over 28 years. The jury was authorized to find any part or all of his disabilities due to injuries sustained in the derailment. They were authorized to find that he suffered severe physical pain for many months. As to what amount should be awarded for pain and suffering, the law prescribes no exact mode of computation, but declares that it must be reasonable, and the jury should apply an enlightened and impartial conscience to its determination.Southern Cotton Oil Co. v. Skipper, 125 Ga. 368, 372
(54 S.E. 110).
There is nothing in the record to indicate that the verdict is excessive or that the jury reached it through mistake, or that they were actuated by bias against the defendant, or by any undue influence or improper motives. The amount of the verdict has the approval of the trial court. This ground of the amended motion for a new trial is without merit.
The judgment of the trial court overruling the motion for a new trial as amended is without error.
Judgment affirmed. MacIntyre, P. J., and Gardner, J.,concur.